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 1   BRUCE LOCKE (#177787)
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 4   Attorneys for
     Enrique Morales
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-07-314 FCD
                                         )
 9                     Plaintiff,        )                WAIVER OF PERSONAL
                                         )                APPEARANCE
10                                       )
           v.                            )
11                                       )
     ENRIQUE MORALES,                    )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          Defendant hereby waives the right to be present in person in open court upon the hearing of
15   any motion or other proceeding in this case, including when the case is set for trial, when a
16   continuance is ordered, when time is excluded under the Speedy Trial Act, when a detention hearing
17   is held, and when any other action is taken by the Court before or after trial, except upon
18   arraignment, plea, trial confirmation, empaneling of jury, or imposition of sentence. Defendant
19   hereby requests the Court to proceed during every absence of his that the Court may permit pursuant
20   to this waiver; agrees that his interests will be deemed represented at all times by the presence of
21   his attorney, the same as if defendant were personally present; and further agrees to be present in
22   person in court ready for trial on any day that the Court may fix in his absence.
23
24   DATED: May 21, 2008                               /S/ Enrique Morales
                                                   ENRIQUE MORALES
25
     APPROVED:
26
     DATED: May 21, 2008                              /S/ Bruce Locke
27                                                 BRUCE LOCKE
                                                   Attorney for Enrique Morales
28
29                                                    1
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 2
           IT IS SO ORDERED.
 3
 4   DATED: May 22, 2008
                                     _______________________________________
 5                                   FRANK C. DAMRELL, JR.
                                     UNITED STATES DISTRICT JUDGE
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